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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

PEDRO RAMIREZ, JR., Individually and
on Behalf of All Others Similarly Situated,

                    Plaintiff,

v.
                                                                       Civil Action No. 3:16-CV-03111-K
EXXON MOBIL CORPORATION, REX
W. TILLERSON, ANDREW P. SWIGER,
JEFFREY J. WOODBURY, and DAVID S.
ROSENTHAL,

                    Defendants.

                              MEMORANDUM OPINION AND ORDER

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      Before the Court are Lead Plaintiff’s Motion for Class Certification, Doc. No.

86, Lead Plaintiff’s Memorandum of Law in Support of Motion for Class Certification

(collectively, the “Motion” or the “Motion for Class Certification”), Doc. No. 87,

Defendants’ Corrected Memorandum of Law in Opposition to Lead Plaintiff’s Motion

for Class Certification (the “Response”), Doc. No. 115, and Lead Plaintiff’s Reply in

Further Support of Its Motion for Class Certification (the “Reply”), Doc. No. 104.

Having carefully considered the Motion, the Response, the Reply, the Consolidated

Complaint for Violations of the Federal Securities Laws (the “Complaint”), Doc. No.

36, and the applicable law, the Court GRANTS in part and DENIES in part the

Motion.

1. INTRODUCTION

      Lead Plaintiff Greater Pennsylvania Carpenters Fund (the “Fund” or “Plaintiff”)

brings this putative class action against Defendants Exxon Mobil Corporation (“Exxon

Mobil” or the “Company”), Rex. W. Tillerson (“Tillerson”), Andrew P. Swiger

(“Swiger”), Jeffrey J. Woodbury (“Woodbury”), and David S. Rosenthal (“Rosenthal”)

(collectively, “Defendants”), alleging violations of § 10(b) of the Securities and

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78(j)(b), and Securities and

Exchange Commission (“SEC”) Rule 10(b)-5 promulgated thereunder, 17 C.F.R. §

240.10b-5. Doc. No. 36. In its Complaint, Plaintiff alleges that Defendants violated §

10(b) of Exchange Act and SEC Rule 10(b)-5 by, among other things: (1) misleading

investors about Exxon Mobil’s investment and asset valuation processes for proxy costs



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of carbon; (2) failing to properly account for and disclose losses and requisite reserve

revisions related to Exxon Mobil’s Kearl Lake Operations (“Kearl” or the “Kearl

Operation(s)”); and (3) failing to properly account for and disclose losses and take

impairments related to Exxon Mobil’s Rocky Mountain Dry Gas Operations (“RMDG”

or the “RMDG Operation(s)”). E.g., Doc. No. 36 at 174-78. Plaintiff also claims via §

20(a) of the Exchange Act, 15 U.S.C. § 78(t)(a), that Tillerson, Swiger, Woodbury,

and Rosenthal (the “Individual Defendants”) are liable as control persons of Exxon

Mobil. E.g., Doc. No. 36 at 178-79.

      Plaintiff moves the Court to certify the following class:

      All persons who purchased or otherwise acquired Exxon Mobil
      Corporation common stock between March 31, 2014 and January 30,
      2017, inclusive, and were damaged thereby.

E.g., Doc. No. 87 at 8. Plaintiff seeks appointment as class representative, and asks the

Court to appoint lead counsel in this case, Robbins Geller Rudman & Dowd LLP

(“Robbins Geller”), as class counsel. Doc. No. 86; Doc. No. 86-1; Doc. No. 87.

2. BACKGROUND

      Exxon Mobil is a multinational oil and gas company whose stock trades on the

New York Stock Exchange (“NYSE”) under the ticker “XOM.” Doc. No. 36 ¶ 34.

Plaintiff is a pension fund based in Pittsburgh, Pennsylvania. Id. ¶ 33. Plaintiff alleges

that Defendants have violated the securities laws by misrepresenting Exxon Mobil’s

operations and financial health. Defendants’ alleged misrepresentations fall into

roughly three categories: (1) misrepresentations about Exxon Mobil’s Canadian



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Bitumen Operations, including Kearl; (2) misrepresentations about Exxon Mobil’s

RMDG Operations; and (3) misrepresentations about Exxon Mobil’s proxy costs of

carbon. See Doc. No. 87 at 10-11; Doc. No. 104 at 11. The Court briefly discusses each

category and the corresponding misstatements as alleged in the Complaint below.

   2.1. Exxon Mobil’s Canadian Bitumen Operations, Including Kearl

       Exxon Mobil controls two separate upstream bitumen operations in Alberta,

Canada: the Kearl Operation and the Cold Lake Operation (collectively, the “Canadian

Bitumen Operations”). Doc. No. 36 ¶ 96. Kearl is a joint venture between Exxon

Mobil’s majority-owned and fully consolidated subsidiary, Imperial Oil Limited

(“Imperial”), and Exxon Mobil’s wholly-owned subsidiary, ExxonMobil Canada. Id.

Imperial owns a 70.96% stake in Kearl, with the remaining 29.04% being held by

ExxonMobil Canada. Id. ¶ 100. The Cold Lake Operation is entirely owned by Imperial.

Id. ¶ 96.

       In its bitumen operations, Exxon Mobil extracts raw oil from bitumen, a thick,

tar-like substance found in loose sand and clay deposits. E.g., id. ¶¶ 92, 96, 100. The

process is complex and costly. E.g., id. ¶¶ 40, 44. Exxon Mobil’s multibillion-dollar Kearl

Operation is a prime example, comprising four massive open-pit mines where Exxon

Mobil and Imperial strip-mine bitumen from the earth’s surface. E.g., id. ¶¶ 92, 96,

100. Unlike conventional light crude oil that can be easily pumped from the ground

and refined, bitumen requires extensive processing before it can be transformed into

useable fuel. E.g., id. ¶¶ 92, 95. As a result of these higher production costs, among



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other factors, extracting oil from bitumen offers lower profit margins than pumping

light crude oil. E.g., id. ¶ 95.

       The success of bitumen projects like the Kearl Operation depends on the market

price for oil. See id. ¶¶ 2, 56, 156. If oil prices drop too low, the costs associated with

developing and running a project may exceed revenues. See id. ¶¶ 56, 63.

       Investors and regulators care about whether oil and gas companies record their

costs accurately. See id. ¶ 73. Regulators require oil and gas operators, including Exxon

Mobil, to capitalize a considerable portion of the costs related to acquiring, exploring,

and developing oil and gas projects. Id. ¶¶ 45, 55. A capitalized cost is an expense that

a company treats as a long-term asset investment rather than an immediate expense; it

is recognized on the balance sheet as an asset and is gradually expensed over its useful

life through depreciation or amortization. Id. ¶¶ 45, 325. An asset’s “carrying value”

refers to the cost of the asset less depreciation or amortization. Id. ¶ 325. A capitalized

asset is expected to generate future cash flows in excess of its carrying value. See id. ¶

55. If circumstances change and future cash flows are no longer projected to cover the

carrying value of the asset, the asset is “impaired.” Id. ¶¶ 55, 328-29. The owner of an

impaired asset must adjust its recorded value to equal its fair value by recording an

impairment charge on the owner’s earnings statement. Id. ¶ 55.

       Regulators also require oil and gas companies to disclose detailed information

about their “reserves.” Id. ¶ 50. Reserves represent the quantity of raw oil and gas that

a company either owns or holds the rights to extract. Id. ¶¶ 46, 72. They are the core



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assets of an oil and gas company. Id. One special class of reserves are “proved reserves,”

which encompass raw oil and gas that a company can profitably extract under the

economic conditions existing at the time the business records the reserves in a financial

statement. Id. ¶¶ 52, 332, 362. Companies assess profitability using historical prices—

generally, the average of the first-day-of-the-month prices for the twelve months prior

to the assessment—and current costs. Id. ¶¶ 52, 333. When later assessments reveal

that reserves previously classified as proved are no longer profitable to extract, these

reserves must be “de-booked,” or reclassified as unproved reserves. Id. ¶¶ 54, 334.

Companies disclose the reserves they have classified as proved in their financial

statements. Id. ¶ 47.

      By the time Exxon Mobil had finished construction, started production, and

initiated a second phase of expansion at Kearl in 2013, the Western Canadian Select

benchmark (“WCS”) for heavy crude produced from the Canadian oil sands had

maintained an average price of around $72 per barrel over three consecutive years. Id.

¶¶ 58, 107. In 2014, however, oil and gas prices began a marked and prolonged global

collapse. Id. ¶¶ 148-54. From its peak in June 2014, the WCS benchmark experienced

an 83% decline, reaching $14.50 per barrel in January 2016. Id. ¶ 148. Through 2014

and 2015, Exxon Mobil’s competitors recognized billions of dollars in asset

impairments, including for Canadian oil sands projects like Kearl. Id. ¶¶ 156-62, 167.

Exxon Mobil did not. Id. ¶¶ 166-68. Plaintiff alleges that Tillerson—then Exxon Mobil’s

Chief Executive Officer and Chairman—and Woodbury—then Exxon Mobil’s



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Secretary and Vice President of Investor Relations—instead made misleading

statements to the market in an effort to portray Exxon Mobil as immune from the

market forces impacting its peers. Id. ¶¶ 35, 37, 71, 81-84, 90, 257, 265-68, 272-75,

277-87, 289-92, 298-301, 302, 309-17.

      According to Plaintiff, Defendants also misrepresented Exxon Mobil’s proved

reserves in the Company’s SEC filings. On February 24, 2016, Exxon Mobil filed its

2015 Form 10-K (the “2015 10-K”) with the SEC. Id. ¶¶ 16, 277, 343, 348. At the

time of the filing, proved reserves from the Canadian Bitumen Operations, most of

which were attributable to Kearl, constituted a significant portion of Exxon Mobil’s

total worldwide proved reserves, representing 31% of the company’s liquids proved

reserves and 18% of the company’s combined liquids and natural gas proved reserves.

Id. ¶¶ 97, 101, 346. Plaintiff alleges that the 2015 10-K implied that the average profit

per barrel of bitumen produced from its Canadian Bitumen Operations in 2015 was

$5.87. Id. ¶ 343. Plaintiff contends that Exxon Mobil’s Canadian Bitumen Operations

were losing money by mid-November 2015, if not sooner, and there was no indication

of a favorable change in the foreseeable future. Id. ¶¶ 170, 301, 342, 344. While

Plaintiff does not allege that the average profit implied by 2015 10-K was inaccurate

(it apparently accounted for the recent losses), Plaintiff maintains that Defendants’

failure to disclose the Canadian Bitumen Operations’ losses violated Generally

Accepted Accounting Principles (“GAAP”) and made the implied average profit

materially misleading. See id. ¶¶ 17, 255-56, 287, 318.



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      The continued drop in oil prices also threatened the profitability of the Kearl

bitumen reserves. See id. ¶¶ 20, 22, 107, 169, 177, 180-81, 231. Plaintiff alleges that,

by the end of 2015, the Kearl reserves were—at best—on the verge of no longer meeting

the SEC’s definition of proved reserves. Id. ¶¶ 175-76, 301. When Exxon Mobil filed

the 2015 10-K in late February and oil prices still had not improved, Plaintiff claims

that it was “all but certain” that the reserves would no longer meet the SEC’s definition

of proved reserves by the end of 2016 and would need to be de-booked. Id. ¶¶ 14, 20,

169, 176-77, 286, 310, 318, 347, 351. Recognizing the potential impact of low oil

prices on Exxon Mobil’s classification of proved reserves, the 2015 10-K stated the

following:

      When crude oil and natural gas prices are in the range seen in late 2015
      and early 2016 for an extended period of time, under the SEC definition
      of proved reserves, certain quantities of oil and natural gas, such as oil
      sands operations in Canada and natural gas operations in North America
      could temporarily not qualify as proved reserves. Amounts that could be
      required to be de-booked as proved reserves on an SEC basis are subject
      to being re-booked as proved reserves at some point in the future when
      price levels recover, costs decline, or operating efficiencies occur.

      Under the terms of certain contractual arrangements or government
      royalty regimes, lower prices can also increase proved reserves attributable
      to ExxonMobil. We do not expect any temporary changes in reported
      proved reserves under SEC definitions to affect the operation of the
      underlying projects or to alter our outlook for future production volumes.

Id. ¶ 285. Despite the cautionary language in the 2015 10-K, Plaintiff asserts that the

document was misleading, violated SEC disclosure standards, and was inconsistent

with GAAP because the warning was too tepid considering prevailing oil prices and the

high likelihood of a future de-booking. Id. ¶¶ 17, 180, 231, 348. Plaintiff further alleges


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that, as 2016 progressed and oil prices continued to sag, the probability of an end-of-

year de-booking became more certain, but Exxon Mobil’s 2016 Form 10-Q reports—

filed on May 4, 2016, and August 3, 2016—still failed to adequately inform investors

of this reality. Id. ¶¶ 22, 169, 178-80, 184, 231, 348. Plaintiff alleges that these reports

were misleading and violated SEC disclosure requirements. Id. ¶¶ 256, 348-52.

   2.2. Exxon Mobil’s RMDG Operations

       Plaintiff alleges that Defendants similarly misled the market about reserves tied

to Exxon Mobil’s RMDG Operations. Faced with declining domestic natural gas

reserves, Exxon Mobil acquired XTO Energy, Inc., in December 2009. Id. ¶¶ 114, 116.

The all-stock deal, valued between $36 billion and $41 billion, made Exxon Mobil the

largest domestic natural gas producer in the United States. Id. ¶¶ 117, 120.

       The deal proved inopportune for Exxon Mobil, as oil and gas prices began their

extended decline in 2014. Id. ¶¶ 148-54. Between February 2014 and December 2015,

the Henry Hub benchmark price—the most commonly used benchmark for natural gas

produced in the United States—dropped 80%, from $8.15 per million British thermal

units (“BTU”) to $1.63 per million BTU. Id. ¶¶ 59, 121, 155. Due in large part to that

decline, Exxon Mobil’s competitors in the natural gas sector, including those with dry

gas operations in the Rocky Mountains, recorded impairment charges in 2014 and

2015. E.g., id. ¶¶ 156-57, 159, 161-64. Exxon Mobil did not follow suit. Id. ¶¶ 166-68.

Plaintiff contends that Exxon Mobil’s executives instead made misstatements to the




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market in an attempt to present itself as unaffected by falling prices. E.g., id. ¶¶ 128-

31, 134-37, 139, 192, 247, 270-71, 275-76.

      Plaintiff asserts that by the end of 2015, the combination of low gas prices and

prevailing market trends required Defendants to assess whether the RMDG reserves

were impaired. Id. ¶¶ 169, 185-86. According to Plaintiff, had Defendants conducted

a proper test, they would have recognized that the carrying value of the RMDG assets

was no longer recoverable, necessitating an impairment charge. Id. ¶¶ 185, 191-93, 368-

72. Because Exxon Mobil failed to properly recognize an impairment charge, Plaintiff

contends, Exxon Mobil’s 2015 10-K and certain subsequent 2016 Form 10-Q reports

contained misleading financial information and violated SEC disclosure requirements.

Id. ¶¶ 366-70, 373-76.

   2.3. Proxy Costs of Carbon

      Plaintiff alleges that Defendants misled investors by not adhering to their public

statements about using a proxy cost of carbon—a figure representing the projected

effects of various climate-related policies on the future global energy demand—in their

investment and valuation procedures. E.g., id. ¶¶ 7-8, 137-47. To reassure investors that

Exxon Mobil would address climate change-related risks to its business, like increasing

demand for renewable energy, in March 2014, Defendants issued a public report

stating that Exxon Mobil would use a proxy cost of carbon. Id. ¶¶ 3, 295.

      Plaintiff contends that Exxon Mobil used a lower proxy cost of carbon or no

proxy cost of carbon in its internal proved reserves and impairment calculations for the



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Canadian Bitumen Operations, including Kearl, and in asset impairment evaluations

for the RMDG Operations. E.g., id. ¶¶ 137-47, 191-92, 243-45, 361, 371. According

to Plaintiff, had Exxon Mobil properly employed its publicly declared proxy costs of

carbon to assess the profitability of the Kearl and RMDG Operations, its eventual de-

booking and impairment announcements would have been made far sooner. See id. ¶¶

137-47, 175-77, 191-94. Plaintiff largely bases these allegations on the Affirmation of

John Oleske (the “Oleske Affirmation”), which was filed on June 2, 2017, as part of an

investigation by the New York Attorney General (“NYAG”) into whether Exxon Mobil

misled the public and investors regarding the business risks associated with climate

change. E.g., id. ¶¶ 137-47, 191-92, 243-45, 361, 371; see Doc. No. 36-1.

   2.4. The Alleged Corrective Disclosures

      Plaintiff alleges that Defendants’ statements about Exxon Mobil’s Canadian

Bitumen Operations, RMDG Operations, and Exxon Mobil’s use of a proxy cost of

carbon were revealed to be misleading in a series of seven corrective disclosure (the

“Corrective Disclosures”) dated November 9, 2015; January 20, 2016; July 29, 2016;

August 10, 2016; October 28, 2016; January 18, 2017; and January 31, 2017. Doc.

No. 36 at 167-72; Doc. No. 98-8 at 6.

      2.4.1. The First Corrective Disclosure: The Guardian Article (November 9,
             2015)

      On November 9, 2015, The Guardian reported that the NYAG was investigating

Exxon Mobil for providing false information to the public regarding climate change and

the potential business risks associated with it, including whether Exxon Mobil funded


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“climate denial front groups” and “spread[] disinformation about climate science.”

Doc. No. 36 ¶ 426; Doc. No. 98-5.

      2.4.2. The Second Corrective Disclosure: The Los Angeles Times Article
             (January 20, 2016)

      On January 20, 2016, The Los Angeles Times reported that the California Attorney

General (“CAAG”) was “investigating whether Exxon repeatedly lied to the public and

investors about the risks to its business from climate change, specifically whether

Exxon’s actions ‘could amount to securities fraud and violations of environmental

laws.’” Doc. No. 36 ¶ 429; Doc. No. 98-6.

      2.4.3. The Third Corrective Disclosure: Second             Quarter    Earnings
             Announcement for 2016 (July 29, 2016)

      On July 29, 2016, at 8:00 a.m. ET, Exxon Mobil released its second quarter

earnings for 2016. Doc. No. 98-7. According to Plaintiff, Exxon Mobil revealed “a

significant miss of expectations in Upstream”—the segment of Exxon Mobil’s business

involving the exploration, acquisition, development, and extraction of unprocessed oil

and gas commodities—“including a reported loss of $514 million in U.S. Upstream . .

. driven heavily by poor performance by XTO and Kearl.” Doc. No. 98-8 at 6; see Doc.

No. 36 ¶ 40.

      2.4.4. The Fourth Corrective Disclosure: The Washington Post Op-Ed
             (August 10, 2016)

      On August 9, 2016, The Washington Post published an op-ed by Senators

Elizabeth Warren and Sheldon Whitehouse entitled Big Oil’s Master Class in Rigging the

System. Doc. No. 36 ¶ 432; Doc. No. 98-10 at 2-4. Plaintiff alleges the op-ed revealed



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that “Exxon and its allies with financial ties to the oil and gas industry were harassing

and bullying investigators in an attempt to ‘sidetrack state investigations and silence

groups petitioning the government to address [Exxon’s] potential wrongdoing’ and

avoid ‘court-supervised discovery . . . into whether it has spent decades deliberately

deceiving the public about the harms associated with [climate change].’” Doc. No. 36

¶ 432.

         Plaintiff also references a report from Environment and Energy Publishing LLC

(the “EEP Report”), published on August 10, 2016. Doc. No. 36 ¶¶ 433-34. According

to Plaintiff, the report detailed the calls of certain politicians for “Exxon executives to

testify about climate change in light of state Attorney General investigations into

whether Exxon knowingly misled the public and investors regarding the risks of carbon

emissions.” Id.

         2.4.5. The Fifth Corrective Disclosure: Third Quarter Earnings (October
                28, 2016)

         On October 28, 2016, at 8:00 a.m. ET, Exxon Mobil released its third quarter

earnings for 2016. Id. ¶ 437; Doc. No. 88-3. Plaintiff characterizes the earnings release

as disclosing that Exxon Mobil “might be forced to de-book nearly 20% of its oil and

gas reserves, specifically acknowledging that it might have to de-book 3.6 billion barrels

of oil sand reserves and one billion barrels of other North American reserves” if energy

prices did not improve. Doc. No. 36 ¶ 437; Doc. No. 88-3 at 6.




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        2.4.6. The Sixth Corrective Disclosure: UBS Downgrade (January 18,
               2017)

        On January 18, 2017, after the close of trading, UBS downgraded Exxon Mobil

to “sell” and reduced its price target from $86 to $77. Doc. No. 36 ¶ 443. Plaintiff

notes that UBS cited Exxon Mobil’s “risk of de-booking up to 4.6 of its 24.8 BBoe of

proved reserves” in its report downgrading the Company. Id.; Doc. No. 88-7.

        2.4.7. The Seventh Corrective Disclosure: Fourth Quarter Earnings
               Announcement for 2016 (January 31, 2017)

        On January 31, 2017, Exxon Mobil released its fourth quarter earnings for 2016.

Doc. No. 36 ¶¶ 446-47. The Company confirmed that it would be taking an asset

impairment charge of about $2 billion largely related to the RMDG Operation and that

it would de-book the Kearl Operation reserves within the coming weeks. Id.; Doc. No.

88-4.

3. LEGAL STANDARDS

        Before a court can certify a class, the party seeking class certification bears the

burden of proving by a preponderance of the evidence that the class meets all four

requirements of Fed. R. Civ. P. 23(a): (1) numerosity, (2) commonality, (3) typicality,

and (4) adequacy. Mary Kay Inc. v. Reibel, 327 F.R.D. 127, 129 (N.D. Tex. 2018)

(Fitzwater, J.) (citing Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221, 228

(5th Cir. 2009)). The court must conduct a “rigorous analysis” of each Rule 23(a)

factor. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). The party seeking

class certification must establish by a preponderance of the evidence that the class




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meets the requirements of at least one subsection of Rule 23(b). Mary Kay Inc., 327

F.R.D. at 129 (citing Flowserve, 572 F.3d at 228). For proposed classes seeking

monetary damages, like this one, the relevant requirements are “predominance” and

“superiority” under Rule 23(b)(3). Unger v. Amedisys Inc., 401 F.3d 316, 320 (5th Cir.

2005).

      Although a court does not reach the merits of the case in evaluating whether

class treatment is appropriate, it may look past the pleadings to understand the claims,

defenses, relevant facts, and applicable substantive law in order to make a meaningful

decision on class certification. Castano v. Am. Tobacco Co., 84 F.3d 734, 744 (5th Cir.

1996).

4. ANALYSIS

   4.1. Rule 23(a)

      4.1.1. Numerosity

      To establish numerosity under Rule 23(a)(1), Plaintiff must show that its

proposed “class is so numerous that joinder of all members is impracticable.” In

examining numerosity, the Court considers factors such as “the geographical dispersion

of the class, the ease with which class members may be identified, [and] the nature of

the action.” Zeidman v. J. Ray McDermott & Co., 651 F.2d 1030, 1038 (5th Cir. 1981)

(quoting Philips v. Joint Legis. Comm., 637 F.2d 1014, 1022 (5th Cir. 1981)).

Defendants do not dispute that Plaintiff has satisfied Rule 23(a)(1).




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      The Court finds that Plaintiff has sufficiently established numerosity. Exxon

Mobil’s stock is a nationally traded security, with over four billion shares outstanding

and an average weekly trading volume of tens of millions of shares. Doc. No. 88-1 ¶¶

23-24, 29-30; id. at 108. The massive number of outstanding shares and the average

weekly rate at which these shares are traded suggests that the purchasers of shares

comprising Plaintiff’s proposed class are too numerous to practicably join. See Zeidman,

651 F.2d at 1039 (collecting cases). The fact that Exxon Mobil trades nationally on

the NYSE serves as additional evidence of numerosity, as it is highly likely that the

individuals or entities involved in trading Exxon Mobil securities are spread throughout

the country. Id.

      4.1.2. Commonality

      To establish commonality under Rule 23(a)(2), Plaintiff must demonstrate that

“there are questions of law or fact common to the class.” Even “a single common

question will do.” Dukes, 564 U.S. at 359. “The test for commonality is not demanding

and is met ‘where there is at least one issue, the resolution of which will affect all or a

significant number of the putative class members.’” Mullen v. Treasure Chest Casino,

LLC, 186 F.3d 620, 625 (5th Cir. 1999) (quoting Lightbourn v. County of El Paso, 118

F.3d 421, 426 (5th Cir. 1997)). Defendants do not dispute that Plaintiff has

demonstrated commonality.

      The Court concludes that the commonalty requirement is satisfied. Common

questions in this case include whether Defendants made material misrepresentations



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or omissions, whether the Individual Defendants controlled the content and

dissemination of the allegedly misleading misrepresentations, and whether the putative

class members incurred damages. See Doc. No. 87 at 15. These issues, central to the

securities fraud claims of the proposed class, arise from the same basic set of facts and

can be addressed through evidence common to the proposed class.

      4.1.3. Typicality

      To establish typicality under Rule 23(a)(3), Plaintiff must show that “the claims

or defenses of the representative parties are typical of the claims or defenses of the

class.” This undemanding test “focuses on the similarity between the named plaintiffs’

legal and remedial theories and the theories of those whom they purport to represent.”

Lightbourn, 118 F.3d at 426. “Typicality does not require complete identity of claims,

but requires that the representatives’ claims share the same essential characteristics

with the class members’ claims. Factual differences do not defeat typicality if the claims

arise from a similar course of conduct and share the same legal theories.” In re Elec. Data

Sys. Corp. Sec. Litig., 226 F.R.D. 559, 565 (E.D. Tex. 2005) (citing James v. City of

Dallas, 254 F.3d 551, 570 (5th Cir. 2001)).

      Defendants argue that Plaintiff’s claims are atypical of the proposed class claims

because Plaintiff purchased all of its Exxon Mobil stock after the first two alleged

Corrective Disclosures, subjecting it to the unique defense that it could not have relied

on any supposed misrepresentations that were corrected before its purchase. Doc. No.

115 at 35.



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      Class certification will not be denied, however, on the basis of the presence of a

unique defense unless there is a significant risk that Plaintiff will unduly devote

resources to litigating the defense that should be devoted to litigating other matters

material to the proposed class. See Lehocky v. Tidel Techs., Inc., 220 F.R.D. 491, 502

(S.D. Tex. 2004) (Hittner, J.). Defendants have not sufficiently established that the

timing of Plaintiff’s purchases of Exxon Mobil stock—even if unique to Plaintiff—poses

such a risk. Plaintiff’s claims are founded on the same factual allegations and legal

theories as the claims of all class members: that Defendants’ misstatements and

omissions artificially inflated the price of Exxon Mobil’s stock, and that investors

suffered damages when the truth was revealed. Regardless, Defendants’ unique defense

argument is moot based on the Court’s narrowed class definition, discussed in Section

5 below. The Court finds that the typicality requirement has been met.

      4.1.4. Adequacy

      Rule 23(a)(4) requires Plaintiff to demonstrate that it “will fairly and adequately

protect the interests of the class.” In determining adequacy, courts consider three

primary questions: (1) whether there are any conflicts of interest between the

representative parties and the class they seek to represent; (2) whether the

representative parties have the willingness and ability to play an active role in the

litigation; and (3) whether class counsel has the competence and zeal to represent the

class and protect the interests of the absentee class members. Feder v. Elec. Data Sys.




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Corp., 429 F.3d 125, 130 (5th Cir. 2005); Berger v. Compaq Comput. Corp. (Berger I),

257 F.3d 475, 479 (5th Cir. 2001).

       Plaintiff’s interests align with the interests of the proposed class because both

have suffered losses as a result of the same allegedly unlawful conduct. Plaintiff is highly

motivated to pursue this case and maximize the recovery not only for itself, but also

for the absentee class members. The Court also finds that Robbins Geller is adequate

to serve as class counsel given its extensive experience in litigating securities class

actions in federal court, see Doc. No. 88-13 at 5-9, 26-46, 100, and its diligent

representation of Plaintiff thus far. Defendants have not presented any evidence of a

conflict of interest between Plaintiff and the proposed class, and they have not raised

any concerns regarding the adequacy of Robbins Geller as class counsel.

       Defendants question the adequacy of Plaintiff based on the deposition

testimony of its designated representative, Mr. Michael Swiderski, however. Doc. No.

115 at 36-39. Defendants contend that certain portions of Mr. Swiderski’s testimony

indicate that he does not completely understand the allegations against Defendants,

that he does not know the current status of this litigation, and that what he does know

about the litigation comes solely from Robbins Geller. Id.; see Doc. No. 104 at 33-34,

Doc. No. 105-8. Defendants conclude that Plaintiff impermissibly delegated this case

to Robbins Geller and is, “at most, a disinterested spectator, lacking even basic

knowledge about this case.” Doc. No. 115 at 37.




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      The Private Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §

78u-4, “raises the standard adequacy threshold” for securities class actions by requiring

that they “be managed by active, able class representatives who are informed and can

demonstrate they are directing the litigation.” Berger I, 257 F.3d at 483. The PSLRA

does not create any additional Rule 23(a)(4) adequacy requirements. Berger v. Compaq

Comput. Corp. (Berger II), 279 F.3d 313 (5th Cir. 2002). Class representatives are not

required to have a complete knowledge of the case. Lehocky 220 F.R.D. at 503 (citing

Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 62 (2d Cir. 2000)). They

“need not be legal scholars and are entitled to rely on counsel.” Berger I, 257 F.3d at

483. Class representatives do “need to know more than that they were ‘involved in a

bad business deal.’” Id. at 483 (quoting Kelley v. Mid-America Racing Stables, Inc., 139

F.R.D. 405, 410 (W.D. Okla. 1990)).

      Although Defendant’s adequacy concerns are not entirely unfounded, the Court

concludes that Plaintiff is willing and able to adequately participate in and direct this

litigation. In his deposition testimony, Mr. Swiderski could not comment on whether

this lawsuit has anything to do with climate change, he was seemingly unfamiliar with

some of the alleged Corrective Disclosures, and he could not name any Defendant

except Exxon Mobil. Doc. No. 105-8 at 7, 9, 11. Mr. Swiderski’s testimony also

revealed that he understands the basic theory of liability in this case and that the Fund

allegedly suffered damages because of misstatements and omissions by Defendants. Id.

at 3, 9. Mr. Swiderski also demonstrated that he knows more than that the Fund was



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purportedly involved in a bad business deal. For example, he testified (1) that he had

devoted at least sixty hours to fulfilling his responsibilities as a proposed class

representative, a majority of which happened before he received a deposition notice;

(2) that he regularly communicates with counsel about this case; (3) that at least

Plaintiff’s liaison counsel reviewed the Complaint before it was filed; and (4) that his

responsibilities are to “vigorously fight the case for the common good of the class

members.” Id. at 4, 6, 12, 13; see Doc. No. 25-2 at 8-9.

   4.2. Rule 23(b)(3)

      Having determined that Plaintiff has satisfied the prerequisites of Rule 23(a),

the Court now proceeds to evaluate whether it meets the predominance and superiority

requirements of Rule 23(b)(3).

      4.2.1. Predominance

      The predominance element of Rule 23(b)(3) requires that “questions of law or

fact common to class members predominate over any questions affecting only

individual members.” As previously discussed in Section 4.1.2 above, the proposed

class claims present a number of common questions. The predominance requirement

is “far more demanding” than commonality, as it tests “whether proposed classes are

sufficiently cohesive to warrant adjudication by representation.” Unger, 401 F.3d at

320 (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623-24 (1997)). In

evaluating predominance, courts consider whether “members of a proposed class will

need to present evidence that varies from member to member,” or whether “the same



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evidence will suffice for each member to make a prima facie showing [or] the issue is

susceptible to generalized, class-wide proof.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S.

442, 453 (2016) (quoting 2 W. Rubenstein, Newberg on Class Actions § 4:50, pp. 196-

197 (5th ed. 2012)).

      The Court must consider predominance on a claim-by-claim basis. Prantil v.

Arkema Inc., 986 F.3d 570, 577 (5th Cir. 2021) (citing Castano, 84 F.3d at 744). The

predominance analysis therefore begins with the elements of the underlying cause of

action. Erica P. John Fund, Inc. v. Halliburton Co. (Halliburton I), 563 U.S. 804, 809

(2011). Plaintiff alleges violations under §§ 10(b) and 20(a) of the Exchange Act and

SEC Rule 10(b)-5. Doc. No. 36 at 176-79. The elements of a § 10(b) and SEC Rule

10(b)-5 claim are: “(1) a material misrepresentation or omission by the defendant; (2)

scienter; (3) a connection between the misrepresentation or omission and the purchase

or sale of a security; (4) reliance upon the misrepresentation or omission; (5) economic

loss [“damages”]; and (6) loss causation.” Amgen Inc. v. Conn. Ret. Plans and Tr. Funds,

568 U.S. 455, 460-61 (2013) (quoting Matrixx Initiatives, Inc. v. Siracusano, 563 U.S.

27, 37-38 (2011)). Control person liability under § 20(a) requires the existence of an

independent “primary” violation of the securities laws—in this case, § 10(b) and SEC

Rule 10(b)-5. See Jacobowitz v. Range Res. Corp., 596 F. Supp. 3d 659, 690 (N.D. Tex.

2022) (Pittman, J.) (citing Emps.’ Ret. Sys. v. Whole Foods Mkt., Inc., 905 F.3d 892, 905

(5th Cir. 2018)); In re Dynegy, Inc. Sec. Litig., 226 F.R.D. 263, 286 n.69 (S.D. Tex.

2005). The individual defendant must have had actual power over the controlled



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person and induced them, directly or indirectly, to commit the acts constituting the

primary violation. In re BP P.L.C. Sec. Litig., 843 F. Supp. 2d 712, 791 (S.D. Tex. 2012)

(Ellison, J.) (citing Dennis v. General Imaging, Inc., 918 F.2d 496, 509 (5th Cir. 1990)).

      In applying the Rule 23(b)(3) predominance test to Plaintiff’s claims, the Court

asks whether “questions common to the class predominate,” not whether those “questions

will be answered, on the merits, in favor of the class.” Amgen, 568 U.S. at 459 (emphasis

added).

      As to most of the elements of Plaintiff’s claims, there are no meaningful

individualized questions that predominate over the common questions. First, whether

Defendants’ alleged misrepresentations and omissions would have influenced the

decision-making process of a reasonable investor—i.e., whether they are material—is a

common question. Id. Even if Plaintiff is unable “to prove materiality [that] would not

result in individual questions predominating,” it would simply end the case for the

entire class. Id. at 459-60. The same is true for the scienter, falsity, and—for purposes

of § 20(a)—the control, influence, and culpability elements of Plaintiff’s claims. All of

these elements depend on the conduct of Defendants and do not vary with the identity

of the putative class member asserting the claims. Finally, Plaintiff’s proposed out-of-

pocket damages methodology computes damages on a class-wide basis because the

methodology provides a mechanical way of calculating each putative class member’s

damages based on the times at which they bought and sold Exxon Mobil shares. E.g.,

Doc. No. 87 at 21, 27-28; see Ludlow v. BP, P.L.C., 800 F.3d 674, 683 (5th Cir. 2015)



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(Higginbotham, J.) (“In short, in order to certify a class, the damages methodology

must be ‘sound’ and must ‘produce commonality of damages.’” (quoting Comcast Corp.

v. Behrend, 569 U.S. 27, 37 (2013))).

      Reliance is different. An individual plaintiff can, of course, prove reliance by

“showing that he was aware of a company’s statement and engaged in a relevant

transaction—e.g.,    purchasing     common       stock—based      on     that   specific

misrepresentation.” Halliburton I, 563 U.S. at 810. In the context of a securities class

action, like this one, with numerous potential class members, how can a plaintiff

demonstrate each class member’s reliance? The Supreme Court addressed this issue in

Basic Inc. v. Levinson, 485 U.S. 224 (1988).

          4.2.1.1. Fraud-on-the-Market         Theory   and    the     Presumption   of
                   Reliance

      Recognizing the unrealistic evidentiary burden that would result from requiring

proof of direct reliance from each member of a proposed § 10(b) and SEC Rule 10(b)-

5 class, the Supreme Court in Basic blessed the use of the “fraud-on-the-market” theory

to create a rebuttable presumption of class-wide reliance. Id. at 241-47. The fraud-on-

the-market theory posits that the price of a security traded in an efficient market

reflects all publicly available information, including any material misrepresentations

about the security. Amgen, 568 U.S. at 462. “Thus, courts may presume that investors

trading in efficient markets indirectly rely on public, material misrepresentations

through their ‘reliance on the integrity of the price set by the market.’” Id. (quoting

Basic, 485 U.S. at 245).


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      To invoke Basic’s rebuttable presumption that class members relied on an alleged

misrepresentation, a plaintiff must ultimately prove: “(1) that the alleged

misrepresentation was publicly known; (2) that it was material; (3) that the stock

traded in an efficient market; and (4) that the plaintiff traded the stock between the

time the misrepresentation was made and when the truth was revealed.” Halliburton Co.

v. Erica P. John Fund, Inc. (Halliburton II), 573 U.S. 258, 268 (2014). At the class

certification stage, however, a plaintiff need only establish the first, third, and fourth

elements, known as publicity, market efficiency, and market timing, respectively.

Goldman Sachs Grp., Inc. v. Ark. Tchr. Ret. Sys., 141 S. Ct. 1951, 1959 (2021). The Court

leaves materiality “to the merits stage because it does not bear on Rule 23’s

predominance requirement.” Id. (citing Amgen, 568 U.S. at 466-68).

      There is no dispute that Defendants’ alleged misrepresentations were publicly

known. Defendants made them during earnings calls or in public filings and reports.

See Doc. No. 98-12 at 18-19. As addressed in Section 5 below, the class definition here

includes only persons who traded Exxon Mobil stock between the time of the alleged

misrepresentations and the revelation that they were false, satisfying the marketing

timing requirement.

      That leaves the market efficiency requirement. In evaluating whether a stock

traded in an efficient market, the Fifth Circuit considers a number of factors, including:




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      (1) the average weekly trading volume expressed as a percentage of total
      outstanding shares; (2) the number of securities analysts following and
      reporting on the stock; (3) the extent to which market makers and
      arbitrageurs trade in the stock; (4) the company’s eligibility to file SEC
      registration Form S–3 (as opposed to Form S–1 or S–2); (5) the existence
      of empirical facts showing a cause and effect relationship between
      unexpected corporate events or financial releases and an immediate
      response in the stock price; (6) the company’s market capitalization; (7)
      the bid-ask spread for stock sales; and (8) float, the stock’s trading volume
      without counting insider-owned stock.

Unger, 401 F.3d at 323 (internal quotation marks omitted) (first citing Cammer v. Bloom,

711 F. Supp. 1264, 1286-87 (D.N.J. 1989); and then citing Krogman v. Sterritt, 202

F.R.D. 467, 477-78 (N.D. Tex. 2001) (Lynn, J.)). Significantly, “market efficiency is a

matter of degree”; the “markets for some securities are more efficient than the markets

for others.” Halliburton II, 573 U.S. at 271-72.

      The Court finds, and Defendants agree, that the market for Exxon Mobil stock

is efficient. Doc. No. 176 at 48. Plaintiff has demonstrated, inter alia, that Exxon Mobil

stock trades on the NYSE at a very high weekly trading volume and is widely covered

by securities analysts. Doc. No. 87 at 22-23. Exxon Mobil’s market capitalization is

massive, at well over $100 billion. Id. at 25. And the market efficiently absorbs Exxon

Mobil-specific news and rapidly translates it into changes in stock price. See id. at 24;

Doc. No. 88-1 at ¶¶ 47-50. As plaintiff’s expert’s market efficiency analysis

demonstrates, the market for Exxon Mobil stock is among the most efficient for stocks

listed on the NYSE and Nasdaq. See, e.g., Doc. No. 88-1 ¶¶ 29-31, 35-37, 98-99, 101-

03.




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       Plaintiff has therefore discharged its burden to show market efficiency, as well

as publicity and market timing. Basic’s rebuttable presumption of class-wide reliance

applies.

             4.2.1.1.1.    Rebutting Basic’s Presumption of Reliance: Price
                           Impact

       Defendants seek to rebut Basic’s presumption of class-wide reliance. They

contend that their alleged misrepresentations had no impact on the price of Exxon

Mobil stock. Because the “fundamental premise” behind Basic’s presumption of

reliance is that, in an efficient market, “an investor presumptively relies on a

misrepresentation so long as it was reflected in the market price at the time of his

transaction,” Defendants’ contention would cause “Basic’s fraud-on-the-market theory

and presumption of reliance [to] collapse.” Halliburton II, 573 U.S. at 278 (emphasis

added) (quoting Halliburton I, 563 U.S. at 812).

       It is not always clear how a “price impact” argument like Defendants’ will differ

from a materiality argument—an inquiry reserved for the merits stage. Goldman Sachs,

141 S. Ct. at 1959 (citing Amgen, 568 U.S. at 466-68). If a misstatement is immaterial,

one would not expect the exposure of its falsehood to have a negative impact on the

price of the stock to which it relates. In practice, this may not matter much, as courts

assessing price impact at the class certification stage “‘should be open to all probative

evidence on that question—qualitative as well as quantitative—aided by a good dose

of common sense.’ That is so regardless whether the evidence is also relevant to a merits




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question like materiality.” Id. at 1961 (quoting In re Allstate Corp. Sec. Litig., 966 F.3d

595, 613 n.6 (7th Cir. 2020)).

       The defendant bears the burden of persuasion to demonstrate a lack of price

impact by a preponderance of the evidence. Id. at 1963. If a defendant presents

evidence to rebut Basic’s presumption of class-wide reliance, “[t]he district court’s task

is simply to assess all the evidence of price impact—direct and indirect—and determine

whether it is more likely than not that the alleged misrepresentations had a price

impact.” Id. This is a familiar concept. In a typical civil action, for example, the plaintiff

has the burden to prove its case by a preponderance of the evidence. The plaintiff will

offer whatever it can to meet this burden, and the defendant, often through cross-

examination and its own evidence, will attempt to chip away at the plaintiff’s case.

Where the factfinder determines that the evidence is in “equipoise,” the plaintiff loses;

it did not prove its case by a preponderance of the evidence. See id. Of course, the

plaintiff’s job is easier where the defendant fails to defend. But the burden is still the

plaintiff’s. Weak evidence—even coupled with the defendant’s silence—may not be

enough to overcome it.

       The Court therefore turns to the evidence of price impact, keeping in mind that

Defendants bear the burden of persuading the Court, by a preponderance of the

evidence, that there was no impact. Id. at 1963.




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              4.2.1.1.2.    The Parties’ Event Studies

       Plaintiff and Defendants both submit expert reports on the issue of price impact.

In his report, Plaintiff’s expert, Professor Frank C. Torchio (“Professor Torchio”),

employs an “inflation-maintenance” theory of price impact. Under this theory, “a

misrepresentation causes a stock price ‘to remain inflated by preventing preexisting

inflation from dissipating from the stock price.’” Id. at 1959 (quoting FindWhat Inv.

Grp. v. FindWhat.com, 658 F.3d 1282, 1315 (11th Cir. 2011)). The resulting measure

of damages is “the amount that the stock’s price would have fallen ‘without the false

statement.’” Id. at 1961 (quoting Glickenhaus & Co. v. Household Int’l, Inc., 787 F.3d

408, 415 (7th Cir. 2015)). To estimate this amount, plaintiffs typically “point to a

negative disclosure about a company and an associated drop in its stock price; allege

that the disclosure corrected an earlier misrepresentation; and then claim that the price

drop is equal to the amount of inflation maintained by the earlier misrepresentation.”

Id. (first citing Glickenhaus, 787 F.3d at 413-417; and then citing In re Vivendi, S.A. Sec.

Litig., 838 F.3d 223, 233-37, 253-59 (2d Cir. 2016)). Professor Torchio takes this

approach.

       Defendants’ expert, Dr. Allen Ferrell (“Dr. Ferrell”), likewise tests whether

Defendants’ alleged misrepresentations caused Exxon Mobil’s stock to maintain an

inflated price. Both Dr. Ferrell and Professor Torchio (collectively, the “Experts”)

conduct event studies to determine the extent to which the changes in Exxon Mobil’s

stock price may have resulted from the information revealed in the alleged Corrective



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Disclosures as opposed to broader market and industry trends or random price

fluctuations. See Doc. No. 88-1, Doc. No. 98-12, Doc. No. 103. The Experts agree that

price fluctuations should be statistically significant before the Court rejects the

possibility that the fluctuations are merely the result of random price movements. See,

e.g., Doc. No. 88-1 at 115-17, Doc. No. 98-12 ¶ 21. Neither the Experts nor the parties

dispute the fitness of the regression models used by the Experts for their event studies.

See, e.g., Doc. No. 98-12 ¶ 22; Doc. No. 104 at 12.

      Professor Torchio applied his model to analyze the reaction of Exxon Mobil’s

stock price to three of the alleged Corrective Disclosures: the earnings announcements

dated July 29, 2016, October 28, 2016, and January 31, 2017. See Doc. No. 88-1 at ¶¶

73-91; Doc. No. 103 ¶¶ 60-86, Doc. No. 104 at 12-13. Examining the cumulative stock

price movement over a “two-day window” spanning two consecutive trading days

following each alleged Corrective Disclosure, Professor Torchio found statistically

significant negative price reactions associated with all three disclosures. E.g., Doc. No.

88-1 ¶¶ 73-91, Doc. No. 103 ¶¶ 60-86.

      Plaintiff does not present expert analysis of fluctuations in Exxon Mobil’s stock

price associated with the alleged Corrective Disclosures on November 9, 2015, January

20, 2016, August 10, 2016, or January 18, 2017, because, in Plaintiff’s view, analyzing

fluctuations in response to Exxon Mobil’s earnings announcements is sufficient. Doc.

No. 104 at 36. As support for this view, Plaintiff asserts that it is Defendants’ “burden

to prove no price impact.” Doc. No. 176 at 197.



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      While Defendants bear the burden of persuasion to demonstrate a lack of price

impact by a preponderance of the evidence, Plaintiff’s conclusion does not follow from

its premise. Defendants have analyzed fluctuations in Exxon Mobil’s stock price

associated with all of the Corrective Disclosures alleged by Plaintiff, and the Court

must consider Defendants’ analysis to comply with Goldman Sachs’ directive that the

Court be “open to all probative evidence” when assessing price impact. 141 S. Ct. at

1961. In Erica P. John Fund, Inc. v. Halliburton Co. (Halliburton III)—a case on which

Plaintiff relies, see Doc. No. 104 at 11, 14, 16, 26, 30—Judge Lynn evaluated the

parties’ experts’ price impact opinions with respect to many corrective disclosures that

were not earnings announcements. 309 F.R.D. 251, 270-71, 273-74, 276-80 (N.D.

Tex. 2015) (Lynn, J.).

      Dr. Ferrell’s analysis of Exxon Mobil’s stock price revealed statistically

significant negative price reactions to at least some of the seven alleged Corrective

Disclosures. Examining a “close-to-open” event study window that encompasses stock

price movements from the market close before an alleged Corrective Disclosure to the

first market open after the alleged Corrective Disclosure, Dr. Ferrell found statistically

significant negative price reactions only on July 29, 2016, and October 28, 2016. Doc.

No. 98-12 ¶¶ 32-66. Examining a “close-to-close” event study window that

encompasses stock price movements from the market close before an alleged Corrective

Disclosure to the market close after the alleged Corrective Disclosure, Dr. Ferrell found




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statistically significant negative price reactions on the same dates, as well as January

20, 2016, and January 18, 2017. Id.

       Dr. Ferrell also analyzed the reaction of Exxon Mobil’s stock price to

Defendants’ alleged misrepresentations. Id. ¶¶ 30-31. Using a close-to-close window,

Dr. Ferrell found that no statistically significant positive reaction occurred on the date

of any alleged misrepresentation. Id. Citing, inter alia, IBEW Loc. 98 Pension Fund v. Best

Buy Co., 818 F.3d 775, 782-83 (8th Cir. 2016), Defendants argue that the lack of a

statistically significant stock price increase associated with the alleged misstatements

demonstrates a lack of price impact sufficient to rebut Basic’s presumption of class-wide

reliance. Doc. No. 115 at 17.

      The inflation-maintenance theory, however, recognizes “that statements that

merely maintain inflation already extant in a company’s stock price, but do not add to

that inflation, nonetheless affect a company’s stock price.” In re Vivendi, 838 F.3d at

256. Defendants do not meaningfully dispute that the information contained in the

alleged misrepresentations analyzed by Dr. Ferrell coincided with the expectations of

the market, making a statistically significant stock price increase unlikely. See Doc. No.

115 at 17, 19; Doc. No. 104 at 30. Further, the inflation-maintenance theory is widely

accepted by the federal judiciary. Merritt B. Fox & Joshua Mitts, Event-Driven Suits and

the Rethinking of Securities Litigation 77 (Eur. Corp. Governance Inst., Working Paper

No. 656, 2022) (collecting cases); see also Ludlow, 800 F.3d at 674 (affirming




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certification of class based in part on “stock price inflation” theory). The Court sees no

persuasive reason to buck that trend here.

             4.2.1.1.3.    Event Study Windows

      Having determined that the Court must analyze whether Exxon Mobil’s stock

price reacted to any of the alleged Corrective Disclosures with fluctuations indicating

that Defendants’ alleged misstatements maintained the stock price at an inflated level,

the Court turns to the subject of the Experts’ primary disagreement: the appropriate

event window for assessing price impact.

      Professor Torchio advocates for the use of a two-day window to measure price

impact. See, e.g., Doc. No. 103 ¶ 72. He notes that the proper event window duration

depends on case-specific factors like the intricacy of the disclosure at issue, how widely

the disclosure is shared among the investing public, how the company being studied

responds to the market’s interpretations of the event being studied, and the

information from analysts and commentators that surfaces after the event. Doc. No.

88-1 ¶ 152; Doc. No. 103 at 22-31 (collecting authorities). Professor Torchio argues

that, in this case, studying the two-day period following each of the three alleged

Corrective Disclosures he analyzed best captures the full effect of the news and

commentary related to the alleged Corrective Disclosures. Doc. No. 88-1 ¶ 56; Doc.

No. 103 ¶¶ 29-43, 78-86.

      Dr. Ferrell submits that the proper event window depends on the timing of each

alleged Corrective Disclosure. Doc. No. 98-12 ¶¶ 19-20; see also id. at 8-13 nn.9-26



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(collecting authorities). According to Dr. Ferrell, using a close-to-open event window is

best for analyzing the market reaction to alleged Corrective Disclosures made while the

market was closed. Id. Dr. Ferrell opines that this targeted window best reflects the

market’s reaction to the disclosure without influence from possible confounding news

or events that could occur during regular trading hours, particularly for a stock with a

market as efficient as Exxon Mobil’s. Id.; see Doc. No. 176 at 120-25. By contrast, Dr.

Ferrell opines that using a close-to-close window is most appropriate for disclosures

issued during trading hours. E.g., Doc. No. 98-12 ¶ 19. Both Experts seemingly agree

that the close-to-close window is the “standard” or “default” window. Doc. No. 176 at

74, 167-68; see Doc. No. 98-12 at 10 n.16.

      Dr. Ferrell agrees that the use of a two-day window may be appropriate in cases

involving, for example, an inefficient market, a corrective disclosure on an unknown

date, or corrective disclosures made in close succession, but he disagrees that a two-day

window is appropriate here. E.g., Doc. No. 176 at 133-37. He opines that the market

for Exxon Mobil stock is efficient, the dates of the Corrective Disclosures are known,

and the Corrective Disclosures were not issued in close succession. Id. Dr. Ferrell

reasons that any disclosure or analyst commentary repeating information previously

shared in a corrective disclosure will have no additional price impact in the highly

efficient market for Exxon Mobil stock because investors will have already traded on

the information in the corrective disclosure. Doc. No. 98-12 ¶¶ 20, 58. Dr. Ferrell




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concludes that a two-day event window is too long to appropriately measure price

impact. Id. ¶ 20.

      At least for class certification purposes, the Experts’ disagreement about whether

a two-day window is appropriate in this case is only relevant with respect to the January

31, 2017, Corrective Disclosure. Using their preferred event windows, each Expert

agrees that Exxon Mobil stock experienced a statistically significant price decline on

July 29, 2016, and October 28, 2016—the only other dates Professor Torchio analyzed.

See Doc. No. 98-12 ¶¶ 43, 55; Doc. No. 103 ¶¶ 62, 69-70.

      The Supreme Court has yet to adopt “any particular theory of how quickly and

completely publicly available information is reflected in the market price.” Basic, 485

U.S. at 248 n.28. Here, based on the information presented, the Court agrees with Dr.

Ferrell’s analysis of the narrow issue disputed by the Experts: In this case, a two-day

window is unsuitable for measuring price impact in an efficient market. See Halliburton

III, 309 F.R.D. at 268-69. A two-day window could include extraneous market noise,

making it more difficult to understand the effect of the alleged Corrective Disclosures

on Exxon Mobil’s stock price. The Court sees no reason to doubt the general

observation made by Dr. Ferrell that the efficient market here rapidly incorporates the

disclosure of material information into the price of the stock prior to the publication

of analyst commentary. Any commentary that does not itself present new information

will not further impact the price of the stock. And, at least as to the alleged Corrective

Disclosure on January 31, 2017, Plaintiff does not appear to contend that any new



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information became available in analyst commentary published afterwards. See Doc.

No. 103 ¶¶ 75-86; Doc. No. 104 at 23-25; Doc. No. 176 at 135-37.

             4.2.1.1.4.    The Corrective Disclosures Analyzed

      Defendants attempt to rebut the Basic presumption of class-wide reliance by

demonstrating a lack of price impact associated with each of the seven alleged

Corrective Disclosures. See Doc. No. 115. Defendants contend that the price impact

inquiry does not necessarily end with the finding of a statistically significant negative

price reaction. Id. at 21-27. According to Dr. Ferrell, “[a]n event study can tell us that

something happened, but it can’t tell us why.” Doc. No. 98-12 ¶ 23 (quoting Bernard

S. Black & Ronald J. Gilson, THE LAW AND FINANCE OF CORPORATE ACQUISITIONS 221

(Westbury NY: The Foundation Press, Inc., 1995)). To properly attribute a stock price

movement to an alleged Corrective Disclosure, Defendants reason, the Court should

consider, inter alia, the total mix of information the market possessed prior to the

disclosure, the market reaction to similar, prior disclosures, and any additional

confounding factors that might have impacted the stock price within the event window.

See, e.g., Doc. No. 115 at 17-28. Consistent with Goldman Sachs, the Court considers

all evidence of price impact for each of the seven alleged Corrective Disclosures,

“regardless whether that evidence overlaps with materiality or any other merits issue.”

141 S. Ct. at 1961.




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                 4.2.1.1.4.1.     November 9, 2015: The Guardian Article

      The first alleged Corrective Disclosure came on November 9, 2015, at 10:30

a.m. ET, when The Guardian reported on the investigation by the NYAG into whether

Exxon Mobil disseminated inaccurate information regarding climate change and its

potential business ramifications. Doc. No. 36 ¶ 426; Doc. No. 98-5. Plaintiff did not

specifically address this Corrective Disclosure in either its Motion or Reply, and

Professor Torchio did not analyze or provide an opinion about it. See Doc. No. 87;

Doc. No. 88-1; Doc. No. 103; Doc. No. 104; Doc. No. 176 at 94-95. Plaintiff

ostensibly considers it partially corrective of some of Exxon Mobil’s alleged

misstatements about its use of a proxy cost of carbon.

      The Court concludes that Defendants have rebutted the Basic presumption by a

preponderance of the evidence by showing that the alleged November 9, 2015,

Corrective Disclosure did not impact Exxon Mobil’s stock price. Dr. Ferrell analyzed

the reaction of Exxon Mobil’s stock price to the November 9, 2015, article and found

no statistically significant negative price reaction. Doc. No. 98-12 ¶¶ 35-38.

      The Court finds further support for its conclusion in Dr. Ferrell’s analysis of the

reaction of Exxon Mobil’s stock price to two additional articles. Dr. Ferrell analyzed

the stock price reaction to a November 5, 2015, 6:38 p.m. ET, article published by The

Guardian that is identical to the November 9, 2015 article. Compare Doc. No. 98-4,

with Doc. No. 98-5. Dr. Ferrell also analyzed the stock price reaction to a November 5,

2015, 12:05 p.m. ET article published by the New York Times that conveyed the same



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essential information as the articles published by The Guardian. Doc. No. 98-12 at 23-

24 (citing Justin Gillis & Clifford Krauss, Exxon Mobil Under Investigation in New York

Over Climate Statements, N.Y. TIMES (Nov. 5, 2015)).

       Dr. Ferrell’s analysis of Exxon Mobil’s stock price reaction to the November 5,

2015, articles found no statistically significant price reaction on either a close-to-open

or close-to-close basis. Id. ¶¶ 37-38. Dr. Ferrell’s assessment of a sample of 480

contemporaneous research analyst reports revealed only six containing analyst

commentary regarding the NYAG’s investigation. Id. None of the six analyst reports

regarded the NYAG’s investigation as significant enough to necessitate adjustments to

their price targets. Id.

                  4.2.1.1.4.2.    January 20, 2016: The Los Angeles Times Article

       The second alleged Corrective Disclosure is a report, published by The Los Angeles

Times on January 20, 2016, at 3:00 a.m. ET, addressing an investigation by the CAAG

into whether Exxon Mobil lied to the public and investors about the risks to its business

from climate change. Doc. No. 36 ¶ 429; Doc. No. 98-6. Except to note that, on a

close-to-close basis, Dr. Ferrell found that the alleged Corrective Disclosure had a

statistically significant negative impact on Exxon Mobil’s price, Plaintiff does not

substantively address this alleged Corrective Disclosure in its Motion or Reply. See Doc.

No. 87; Doc. No. 104 at 13, 28, 36. Professor Torchio also did not analyze or provide

an opinion about the alleged Corrective Disclosure. See Doc. No. 88-1, Doc. No. 103;

Doc. No. 104; Doc. No. 176 at 94-95. Nonetheless, Plaintiff deems the January 20,



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2016, article to be partially corrective of some of Defendants’ alleged misstatements

about Exxon Mobil’s use of a proxy cost of carbon. Doc. No. 104 at 28 n.19.

       Given that the alleged January 20, 2016, alleged Corrective Disclosure occurred

after the market was closed, Dr. Ferrell argues that any stock price reaction is best

measured using a close-to-open window. See Doc. No. 98-12 ¶¶ 19-20, 40. Dr. Ferrell’s

close-to-open analysis revealed no statistically significant negative stock price reaction,

though his close-to-close analysis did. See id. at 21.

       If the use of a close-to-open window is ever appropriate, it would probably be

for something like the alleged January 20, 2016, Corrective Disclosure—a short, easily

digestible article issued hours before the market opened, discussing another

investigation very similar to the one discussed in The Guardian and The New York Times

articles mentioned above.

       Considering the close-to-open analysis alongside other evidence, the Court is

satisfied that Defendants have rebutted the Basic presumption by a preponderance of

the evidence with respect to the January 20, 2016, Corrective Disclosure

notwithstanding the statistically significant negative price reaction on a close-to-close

basis. Dr. Ferrell’s review of 480 concurrent research analyst reports found no analyst

commentary regarding the CAAG’s investigation. Id. ¶ 41. As with the NYAG

investigation discussed in Section 4.2.1.1.4.1 above, the dearth of analyst commentary

on the CAAG’s investigation suggests that the market likely did not consider it to be

significant. There is no indication that the market took the CAAG investigation more



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seriously than the NYAG investigation, or that it saw political attention and multiple

investigations as more troubling than one, as evidenced by the lack of a statistically

significant negative price reaction associated with The Washington Post op-ed addressed

below, which discussed another, similar investigation by the Attorney General of

Massachusetts.

                 4.2.1.1.4.3.    July 29, 2016: Second Quarter Earnings
                                 Announcement for 2016

      On July 29, 2016, at 8:00 a.m. ET, Exxon Mobil issued the third alleged

Corrective Disclosure, releasing second quarter earnings for 2016 wherein the company

revealed an earnings miss in its upstream business. See Doc. No. 98-7. Even though the

earnings release did not specifically attribute the miss to the Canadian Bitumen

Operations (including Kearl proved reserves), the RMDG Operations, or carbon proxy

costs, see id., Plaintiff nevertheless alleges that it was partially corrective of

misstatements related to all three. See Doc. No. 104 at 12-13, 15, 25-28.

      The parties agree that Exxon Mobil stock experienced a statistically significant

negative price movement on July 29, 2016, including on a close-to-open basis. See Doc.

No. 98-12 ¶ 43; Doc. No. 104 at 12-13. Defendants argue that the movement is

attributable to factors other than their alleged misrepresentations. See Doc. No. 98-12

¶ 50. Alternatively, Defendants argue that, even if the earnings release was partially

corrective of Defendants’ alleged misrepresentations, the market did not realize that

the release was corrective, negating any price impact stemming from the correction. See

Doc. No. 115 at 23-26.


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      The Court agrees with Defendants and finds that they have rebutted the Basic

presumption by a preponderance of the evidence by showing that the alleged July 29,

2016, Corrective Disclosure did not impact Exxon Mobil’s stock price.

      First, the Court accepts that the statistically significant negative price movement

on July 29, 2016, was likely not attributable to the alleged corrective information in

the earnings release about the Kearl Operation or the Canadian Bitumen Operations

at large. This is because Imperial also released its quarterly earnings the morning of July

29, 2016 (at 7:55 a.m. ET), and, on a close-to-open basis, Imperial’s stock price did

not experience a statistically significant negative price reaction that day. E.g., Doc. No.

98-12 ¶ 45. Recall that Imperial owns approximately 70% of Kearl and that, when

Exxon Mobil issued it second quarter earnings release for 2016, the proved reserves at

Kearl constituted a substantial part of the overall proved reserves from the Canadian

Bitumen Operations, which in turn made up a significant portion of Exxon Mobil’s

total worldwide proved reserves. E.g., Doc. No. 36 ¶¶ 96-101. If a downturn in

performance at the Kearl Operation was responsible for Exxon Mobil’s stock’s

statistically significant adverse close-to-open price movement on the day of the earnings

release, one would therefore anticipate a comparably negative statistically significant

close-to-open price movement in Imperial’s stock. Because there was no such

movement, the Court doubts that the observed reaction in Exxon Mobil’s stock can

reasonably be linked to Kearl and the broader Canadian Bitumen Operations.




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      As Dr. Ferrell explains, confounding factors likely explain the movement in

Exxon Mobil’s stock price on July 29, 2016. Reviewing twenty-four contemporaneous

analyst reports, Dr. Ferrell found that analysts mainly ascribed the earnings shortfall

to Canadian wildfires and civil disturbances in Nigeria, which collectively resulted in

an estimated decrease in production of 100,000 barrels per day. Doc. No. 98-12 ¶ 50.

Dr. Ferrell’s review did not reveal any analyst commentary concerning asset

impairments or possible de-bookings of Exxon Mobil’s proved reserves. Id.

      On cross-examination, Professor Torchio agreed with Dr. Ferrell “that there was

no information that the market took from the earnings disclosure that connected to

Kearl or Rocky Mountain.” Doc. No. 176 at 104; see also Doc. No. 103 ¶ 112. Absent

information in the earnings release about the Canadian Bitumen Operations (including

Kearl) or the RMDG Operations, there should be no price impact from the release

related to either Operation.

      Finally, the Court notes that the evidence demonstrating that the July 29, 2016,

earnings release did not, as relevant here, have an impact on Exxon Mobil’s stock price

is consistent with Plaintiff’s theory of the case—that Defendants made misleading

statements to present Exxon Mobil as unaffected by the market forces harming its

competitors, and that they successfully kept the market in the dark until they finally

revealed the truth to the market on October 28, 2016. See Doc. No. 104 at 18-19, 22.




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                 4.2.1.1.4.4.      August 10, 2016: The Washington Post Op-Ed

       On the evening of August 9, 2016, The Washington Post published an op-ed by

Senators Elizabeth Warren and Sheldon Whitehouse, entitled Big Oil’s Master Class in

Rigging the System. Doc. No. 36 ¶ 432; Doc. No. 98-10 at 2-3. This is the fourth alleged

Corrective Disclosure. In the op-ed, Senators Warren and Whitehouse recapped the

allegations that Exxon Mobil made misleading statements about climate change and

the risks climate change posed to its long-term business model. Doc. No. 98-10 at 2.

The Senators noted the existence of the NYAG investigation and a similar probe of

Exxon Mobil being conducted by the Attorney General of Massachusetts. Id.

       The Complaint also references the EEP Report, which was published on August

10, 2016, 1:11 p.m. ET. Doc. No. 36 ¶¶ 433-34. This report purportedly discussed

certain politicians’ desire for Exxon Mobil executives to testify in light of the multiple

state attorneys general’s investigations. Id.

       Plaintiff does not specifically address The Washington Post op-ed or the EEP

Report in its Motion or Reply, and Professor Torchio did not analyze the impact of

either publication on Exxon Mobil’s stock price. See Doc. No. 87; Doc. No. 88-1; Doc.

No. 103; Doc. No. 104; Doc. No. 176 at 95. As with The Guardian and The Los Angeles

Times articles, Plaintiff seemingly considers the publications to be partially corrective

of some of Exxon Mobil’s alleged misstatements about its use of a proxy cost of carbon.

       The Court finds that Dr. Ferrell’s analysis of the effect of the op-ed and the EEP

Report on Exxon Mobil’s stock price rebuts the Basic presumption of reliance. Because



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the op-ed was published after trading hours on August 9, 2016, and the EEP Report

was published during trading hours on August 10, 2016, Dr. Ferrell’s analysis of the

window from market close on August 9, 2016, to market close on August 10, 2016,

accounted for both publications. Dr. Ferrell’s analysis revealed no negative stock price

reaction attributable the publications. See Doc. No. 98-12 at 21.

      Not only does Dr. Ferrell’s analysis sufficiently rebut the Basic presumption by

showing a lack of price impact, but also it further supports Defendants’ assertion that

the market did not care about the state attorneys general’s investigations into whether

Exxon Mobil misled investors about its internal use of carbon proxy costs.

                4.2.1.1.4.5.     October 28, 2016: Third Quarter Earnings
                                 Announcement for 2016

      On October 28, 2016, at 8:00 a.m. ET, Exxon Mobil issued the fifth alleged

Corrective Disclosure, releasing its third quarter earnings for 2016. Doc. No. 36 ¶ 437;

Doc. No. 88-3 at 6. Until this point, Plaintiff alleges, Defendants successfully misled

investors into believing that Exxon Mobil was immune from the broader market forces

impacting its peers. For example, Plaintiff cites an analyst report, issued five weeks

prior to the alleged Corrective Disclosure, stating that Exxon Mobil’s ability to steer

clear of write-down issues was due to the company’s unique conservative approach to

the timing and extent of its capitalization of reserves. Doc. No. 104 at 18. According

to Plaintiff, on October 28, 2016, Exxon Mobil “finally came clean about likelihood of

reserve write-downs and impairments” when it revealed in its earnings announcement

that it might have to de-book approximately 3.6 billion barrels of oil sand reserves and


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1 billion barrels of other North American reserves. Id. at 19; e.g., Doc. No. 36 ¶ 437;

Doc. No. 88-3 at 6.

      This is the Corrective Disclosure from which Defendants cannot escape. The

parties agree that Exxon Mobil’s stock experienced a statistically significant negative

price reaction on October 28, 2016, including on a close-to-open basis. See Doc. No.

98-12 ¶ 55; Doc. No. 104 at 13.

      Defendants primarily contend that the third quarter earnings release could not

have had any relevant impact on Exxon Mobil’s stock price because all meaningful

information regarding Exxon Mobil’s de-bookings, impairments, or losses at the

Canadian Bitumen Operations was accessible to the market before the release. E.g.,

Doc. No. 115 at 26-28. Defendants reason that the efficient market for Exxon Mobil’s

stock incorporated this information prior to the issuance of the release. Id.

      There is reason to doubt Defendants’ assertion that the market had access to the

information about the Canadian Bitumen Operations disclosed in the earnings release

before Exxon Mobil issued the release. Both parties’ Experts cite analyst reports that

express surprise and dismay about the potential de-bookings and impairments

announced in the release. See Doc. No. 98-12 at 36-37.

       If Defendants’ theory were correct, one would expect to observe two results that

did not, in fact, materialize. First, if the market could infer that Exxon Mobil’s reserves

were impaired or should be de-booked from competitors’ impairments and de-

bookings, one would expect to see a statistically significant negative price reaction for



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Exxon Mobil’s stock on the days when its peers announced their impairments and de-

bookings. Professor Torchio’s analysis demonstrates that the expected result did not

occur. See Doc. No. 103 ¶¶ 140-43. Second, one would expect to observe no statistically

significant negative movement in Exxon Mobil’s stock price on October 28, 2016,

unless the reaction was attributable to other factors. Since Exxon Mobil’s stock price

dropped on October 28, 2016, Defendants should be able to identify such factors. Dr.

Ferrell suggests that the earnings release primarily emphasized the negative impact of

lower refining margins and commodity prices on Exxon Mobil’s results, while also

spotlighting notable year-over-year drops in earnings and capital and exploration

expenditures. Doc. No. 98-12 ¶ 57. As the contemporary analyst reports show, the

market was concerned with de-booking and impairment; the Court finds that the

factors identified by Dr. Ferrell do not fully explain the drop in Exxon Mobil’s stock

price on October 28, 2016. See id. at 36-37.

       Even if Defendants are correct that all of the de-booking and impairment

information disclosed in the third quarter earnings release was discoverable in advance

of the issuance, Defendants have not necessarily shown that the information was so

widely known that it had become an integral part of the total mix of information

available to investors. E.g., City of Roseville Emps. Ret. Sys. v. EnergySolutions, Inc., 814 F.

Supp. 2d 395, 415 (S.D.N.Y. 2011). Defendants’ theory that the market could have

used publicly available information to deduce the information subsequently disclosed




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in the earnings report largely relies on expert analysis. Doc. No. 115 at 26-28. As the

Fifth Circuit has explained:

      While it is generally true that in an efficient market, any information
      released to the public is presumed to be immediately digested and
      incorporated into the price of a security, it is plausible that complex
      economic data understandable only through expert analysis may not be
      readily digestible by the marketplace.

Pub. Emps. Ret. Sys. of Miss. v. Amedisys, Inc., 769 F.3d 313, 323 (5th Cir. 2014).

      The negative impact of the third quarter earnings release on Exxon Mobil’s stock

price does not, however, support Plaintiff’s claim that Defendants misled the market

about Exxon Mobil’s use of a proxy cost of carbon. Plaintiff argues that the third

quarter earnings release, together with the second and fourth quarter earnings releases

also alleged to be Corrective Disclosures, is partially corrective of Defendants’

purportedly misleading statements about carbon proxy costs. Doc. No. 104 at 9-10,

26-27. Plaintiff contends that the de-booking and impairments revealed on October

28, 2016, would have happened earlier had Exxon Mobil adhered to its publicly

declared proxy cost. Id. Plaintiff alleges that if Exxon Mobil had incorporated its

publicly stated carbon proxy cost in its internal models, it would have realized that its

reserves were less profitable than it told the market. See id. According to Plaintiff, the

three earnings releases are thus “linked” in a way that they can be seen as partially

correcting the purported proxy cost misstatements. Id.

      Plaintiff’s “linkage” theory is unpersuasive. None of the three earnings releases

alleged to be Corrective Disclosures pertained to Exxon Mobil’s use of proxy costs of



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carbon. With the exception of a single analyst report issued after the alleged October

28, 2016, Corrective Disclosure, which mentioned in passing the existence of the state

attorneys general’s investigations into Exxon Mobil, see id., Plaintiff presents no

evidence that the market connected the three earnings releases to Defendants’ alleged

misstatements about Exxon Mobil’s use of a proxy cost of carbon, much less evidence

that any connection between the releases and Defendants’ alleged misstatements

impacted the price of Exxon Mobil’s stock.

      The alleged Corrective Disclosures and similar articles that explicitly pertain to

Exxon Mobil’s use of carbon proxy costs (i.e., The New York Times article, both of The

Guardian articles, The Los Angeles Times article (on a close-to-open basis), The Washington

Post article, and the EEP Report) had no statistically significant negative impact on

Exxon Mobil’s stock price. If any subsequent disclosure was corrective of Defendants’

alleged carbon proxy cost misstatements, it would be the Oleske Affirmation, filed on

June 2, 2017, at 7:50 a.m. ET, which unveiled all of the climate-related allegations

pertinent to this case. Plaintiff does not classify the Oleske Affirmation as a corrective

disclosure—perhaps because, as Dr. Ferrell demonstrates, the Affirmation did not

produce a statistically significant negative change in Exxon Mobil’s stock price on either

a close-to-open or a close-to-close basis. See Doc. No. 98-12 at 21.

      The Court concludes that Defendants have failed to rebut the Basic presumption

by a preponderance of the evidence by showing that the alleged October 28, 2016,

Corrective Disclosure had no impact on the price of Exxon Mobil stock, except insofar



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as Plaintiff alleges that Defendants misled the market about Exxon Mobil’s use of a

proxy cost of carbon.

                  4.2.1.1.4.6.     January 18, 2017: UBS Downgrade

         On January 18, 2017, at 5:30 p.m. ET, UBS published the penultimate alleged

Corrective Disclosure, an analyst report downgrading Exxon Mobil to “sell” and

reducing the target price for its stock from $86 to $77. Doc. No. 36 ¶ 443; Doc. No.

88-7. According to Plaintiff, in downgrading Exxon Mobil and lowering the price target,

UBS cited the likely risk that Exxon Mobil would de-book proved reserves at Kearl

based on Exxon Mobil’s third quarter earnings release. Doc. No. 87 at 12 n.6; Doc. No.

104 at 13, 28. Professor Torchio did not analyze or provide a price impact opinion

about the UBS report. See Doc. No. 88-1, Doc. No. 103; Doc. No. 104; Doc. No. 176

at 95. Plaintiff, however, claims that the report is partially corrective of certain alleged

misrepresentations in the 2015 10-K and other subsequent releases. See Doc. No. 87

at 12.

         The Court concludes that Defendants have rebutted the Basic presumption by a

preponderance of the evidence by showing a lack of price impact with respect to the

UBS report. Dr. Ferrell’s close-to-open analysis revealed no statistically significant

negative stock price reaction, though his close-to-close analysis did. Doc. No. 98-12 at

21, 38. Because UBS issued the report after trading hours, Dr. Ferrell contends that a

close-to-open window is the proper event window for assessing price impact. Id. ¶¶ 19-

20, 61. Based on the information before the it, the Court finds that a close-to-open



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window is probably well-suited to analyzing the impact of the UBS report on Exxon

Mobil’s stock price, as it was for analyzing the impact of The Los Angeles Times article

on Exxon Mobil’s stock price. UBS issued its brief report many hours before the market

opened, and the market for Exxon Mobil stock is highly efficient.

      The Court need not decide between close-to-open or close-to-close windows

here, as the UBS report merely summarizes parts of Exxon Mobil’s third quarter

earnings release and makes a recommendation based on that information; it does not

offer any new corrective information to the market. Plaintiff does not contend

otherwise. See Doc. No. 104 at 28-29; Doc. No. 176 at 197 (“[T]he UBS downgrade

is a result of Kearl de-booking and the lack of profitability.”). As previously mentioned,

the Court agrees with Dr. Ferrell that the mere reiteration of already disclosed

information should not influence the price of a stock traded in an efficient market.

                 4.2.1.1.4.7.     January 31, 2017: Fourth Quarter Earnings
                                  Announcement for 2016

      The final alleged Corrective Disclosure occurred on January 31, 2017, at 8:00

a.m. ET, when Exxon Mobil released its fourth quarter earnings for 2016 and confirmed

that it would be taking an asset impairment charge of about $2 billion largely related

to the RMDG Operations. Doc. No. 36 ¶¶ 446-47; Doc. No. 88-4. Later that morning,

in an earnings conference call that took place during the first ninety minutes of trading,

Woodbury confirmed that the Kearl proved reserves discussed in the third quarter

earnings announcement would be de-booked in the coming weeks. Doc. No. 36 ¶ 234;

Doc. No. 104 at 23.


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       The Court concludes that Defendants have rebutted the Basic presumption by a

preponderance of the evidence by showing a lack of price impact with respect to the

fourth quarter earnings release. The fourth quarter release is the only earnings release

alleged to be a Corrective Disclosure that is not associated with a statistically significant

negative price reaction on a close-to-open basis or even a close-to-close basis. Dr. Ferrell

analyzed Exxon Mobil’s price using a close-to-open window and found no statistically

significant negative price reaction to the fourth quarter release. Doc. No. 98-12 ¶¶ 63-

64. Dr. Ferrell’s close-to-close analysis—which would have captured any reaction

associated with the de-booking confirmation in the conference call conducted after the

market opened—also revealed no statistically significant negative price reaction. See id.

Professor Torchio, did, however, find a statistically significant negative price reaction

by using a two-day window. E.g., Doc. No. 88-1 ¶¶ 83-91; Doc. No. 103 ¶¶ 75-86.

       As the Court has already explained in Section 4.2.1.1.3 above, in this case, a

two-day window is not appropriate for assessing price impact in the highly efficient

market for Exxon Mobil’s stock. The failure of the fourth quarter release to significantly

affect Exxon Mobil’s stock price when measured over a more appropriate window is

unsurprising since the market was on notice of the impairments and de-bookings

announced in the fourth quarter release as a result of Exxon Mobil’s disclosures in its

third quarter earnings release.




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          4.2.1.2. Omissions-Based Presumption of Reliance

       Apart from invoking the presumption of reliance stemming from the fraud-on-

the-market theory, Plaintiff also claims that it is entitled to rely on the presumption of

reliance first established in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), to meet Rule 23(b)(3)’s predominance requirement. In Affiliated Ute, the

Supreme Court held that proof of reliance is not a necessary condition for recovery in

fraud cases primarily involving the omission of material information. Id. at 152-53.

Following this precedent, the Fifth Circuit holds that in cases where the “defendant has

failed to disclose any information whatsoever relating to material facts about which the

defendant has a duty to the plaintiff to disclose,” a plaintiff is entitled to a presumption

that the plaintiff relied on the omission. Abell v. Potomac Ins. Co., 858 F.2d 1104, 1119

(5th Cir. 1988), vacated on other grounds sub nom. Fryar v. Abell, 492 U.S. 914 (1989); see

Regents of Univ. of Cal. v. Credit Suisse First Bos. (USA), Inc., 482 F.3d 372, 384-85 (5th

Cir. 2007). The presumption does not apply “to cases where the plaintiffs allege either

that the defendant has made false statements or has distorted the truth by making true

but misleading incomplete statements.” Steiner v. Southmark Corp., 734 F. Supp. 269,

276 (N.D. Tex. 1990) (Fitzwater, J.).

       Plaintiff’s claims involve a mix of allegedly fraudulent conduct, most of which

appears to consist of misrepresentations rather than omissions. That mix may not

support application of the Affiliated Ute presumption. See Lehocky, 220 F.R.D. at 510

(holding that plaintiffs could not rely on Affiliated Ute presumption where plaintiffs



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alleged a mix of misrepresentations and omissions). But the Court need not and does

not decide the applicability of Affiliated Ute to this case, as it has already found that

Plaintiff is entitled to a rebuttable presumption of reliance based on Basic’s fraud-on-

the-market theory.

      4.2.2. Superiority

      Having found that there are questions of law and fact common to the class that

predominate with respect to Plaintiff’s non-carbon proxy cost allegations, the Court

now turns to the question of whether the class action is the superior way of resolving

this matter. Defendants do not contest the superiority of class treatment here. See

generally Doc. No. 115.

      Nonetheless, the Court independently examines whether a class action “is

superior to other methods for fairly and efficiently adjudicating th[is] controversy”

based on the factors in Rule 23(b)(3)(A)-(D):

      (A) the class members’ interests in individually controlling the
      prosecution or defense of separate actions;

      (B) the extent and nature of any litigation concerning the controversy
      already begun by or against class members;

      (C) the desirability or undesirability of concentrating the litigation of
      the claims in the particular forum; and

      (D) the likely difficulties in managing a class action.

      The motivation of any potential class members to individually prosecute

separate actions appears minimal. Plaintiff was the sole entity to move for appointment

as lead plaintiff in this matter. Doc. No. 87 at 29. There is no indication of any related


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individual lawsuits; Plaintiff is not aware of any, and Defendants do not point to any

either. See id.; Doc. No. 115. Considering the probable presence of numerous absent

potential class members, each with relatively modest losses that might not justify the

associated litigation costs and complexities, the desire for personal control over such

cases seems relatively limited. Id.

        In terms of efficiency, the potential class encompasses thousands of investors

who purchased Exxon Mobil stock. The central claim for all investors is identical:

Defendants misled them into acquiring Exxon Mobil stock at artificially inflated prices.

As the elements of the putative class claims are issues that can be addressed uniformly

for the proposed class, the Court believes that trying the claims collectively will be more

efficient and cost-effective compared to individual trials.

        Finally, the Court finds that the Northern District of Texas is a desirable forum

for this class action at least because of the Court’s familiarity with the case, and because

a high number of the acts complained of occurred in substantial part in this District.

E.g., id.

5. CLASS DEFINITION AND CONCLUSION

        The Court will certify Plaintiff’s proposed class with modifications. “District

courts have significant leeway and discretion over the management of class actions.

They may modify the classes to fit the requirements better and should not dismiss an

action purely because the proposed class definition is too broad.” Braidwood Mgmt., Inc.

v. Equal Emp. Opportunity Comm’n, 70 F.4th 914, 933-34 (5th Cir. 2023) (first citing



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Allison v. Citgo Petroleum Corp., 151 F.3d 402, 408 (5th Cir. 1998); and then citing In

re Monumental Life Ins. Co., 343 F.3d 331, 338 (5th Cir. 2003)).

      As previously explained in Section 4.2.1.1.1, misrepresentations that do not

impact the price of a stock are not actionable and cannot establish the starting point

for a class period. The Court has determined that Defendants have sufficiently rebutted

the alleged price impact of Defendants’ alleged misstatements about the carbon proxy

costs. The Court therefore DENIES Plaintiff’s Motion to the extent it seeks to certify

claims regarding Defendants’ alleged misstatements about carbon proxy costs.

      As outlined below, the Court certifies a class with respect to Plaintiff’s remaining

claims after adjusting the class period to reflect the Court’s analysis of price impact.

The Court sets the starting date of the class period on the date of the first alleged

misstatement relevant to Plaintiff’s certified claims: Exxon Mobil’s 2015 10-K. As the

end date for the class period, the Court sets October 28, 2016—the date of the sole

alleged Corrective Disclosure whose impact on Exxon Mobil’s stock price Defendants

failed to rebut. Accordingly, the Court accordingly CERTIFIES the following class:

      All persons who purchased or otherwise acquired Exxon Mobil
      Corporation common stock between February 24, 2016, and October 28,
      2016 (the date of the sole alleged Corrective Disclosure whose impact on
      Exxon Mobil’s stock price Defendants failed to rebut), inclusive, and were
      damaged thereby. Excluded from the class are Defendants and their
      families, the officers and directors of Exxon Mobil, at all relevant times,
      members of their immediate families and their legal representatives, heirs,
      successors or assigns, and any entity in which Defendants have or had a
      controlling interest.




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The Court appoints Lead Plaintiff Greater Pennsylvania Carpenters Pension Fund as

class representative and Robbins Geller Rudman & Dowd LLP as class counsel.

      SO ORDERED.

      Signed August 21st, 2023.




                                            ____________________________________
                                            ED KINKEADE
                                            UNITED STATES DISTRICT JUDGE




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